                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                               SENIOR JUDGE WILEY Y. DANIEL


Courtroom Deputy:      Robert R. Keech                 Date: February 22, 2018
E.C.R./Reporter:       Julie Thomas


Civil Action No: 17-cv-00025-WYD-KHR                   Counsel:

VALERIE JEFFERS,                                       Matthew R. Osborne

       Plaintiff,

v.

OCWEN LOAN SERVICING, LLC,                             Robert J. Hoffman
                                                       Paul J. Lopach
       Defendant.


                                     COURTROOM MINUTES


TRIAL TO JURY (DAY 3)

9:44 a.m.       Court in Session. Jury not present.

                No additional objection to jury instructions and verdict form.

9:46 a.m.       Jury enters.

9:46 a.m.       Court reads jury instructions and verdict form.

10:20 a.m.      No objection to the Court’s reading of jury instructions and verdict form with a few
                modifications.

10:21 a.m.      Closing argument by Plaintiff by Mr. Osborne.

10:45 a.m.      Closing argument by Defendant by Mr. Hoffman.

11:20 a.m.      Rebuttal argument by Plaintiff by Mr. Osborne.


                                                 -1-
11:28 a.m.   CSO sworn to sit outside jury room during deliberations.

11:30 a.m.   Jury excused to commence deliberations.

             Court’s remarks to counsel regarding availability.

ORDERED:     Defendant’s Motion for Directed Verdict (Doc. No. 80), filed February 21, 2018, is
             STRICKEN.

ORDERED:     Defendant’s Combined Motion in Limine (Doc. No. 43), filed January 12, 2018, is
             DENIED AS MOOT.

11:34 a.m.   Court in Recess. Subject to call.

4:06 p.m.    Court in Session - Jury not present

             Court informs counsel that jury has reached a verdict.

4:08 p.m.    Jury enters

             Court reads jury verdict.

4:12 p.m.    Jury is polled.

             Court thanks jurors for their service and they are discharged.

4:14 p.m.    Jury excused

             Court’s closing remarks to counsel.

4:15 p.m.    Court in Recess - TRIAL CONCLUDED.

CLERK’S NOTE:        EXHIBITS AND DEPOSITIONS WERE RETURNED TO COUNSEL AT
                     THE CONCLUSION OF THE TRIAL.

TOTAL TIME: 1:59




                                             -2-
